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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS

JOHN HANCOCK LIFE INSURANCE                           )
COMPANY (U.S.A.) f/k/a John Hancock                   )
Life Insurance Company                                )
                                                      )
                               Plaintiff,             )
                                                      )
       v.                                             )    Case No. 4:18-CV-02869
                                                      )
THE ESTATE OF JENNIFER LAUREN                         )
WHEATLEY, et al.                                      )
                                                      )
                               Defendants.            )

PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION AND MEMORANDUM IN
           SUPPORT OF DETERMINATION OF CHOICE OF LAW

       Plaintiff John Hancock Life Insurance Company (U.S.A.) f/k/a John Hancock Life

Insurance Company (“John Hancock”) partially opposes Defendants the Estate of Jennifer

Lauren Wheatley and Louis Anthony Wheatley Administrator of the Estate of Jennifer Lauren

Wheatley, Deceased’s (collectively, the “Estate”) Motion and Memorandum in Support of

Determination of Choice of Law (the “Motion”) (ECF 115). While John Hancock agrees that

Texas law should apply to the Estate’s breach of contract and negligence claims, it believes that

the Estate’s request to apply Massachusetts law to its consumer protection claims is premature.

While the Estate has moved for permission to amend its complaint, the Court has not (and should

not) approve this request. Thus, there are no current Massachusetts claims pending and the

Motion is unripe.

                                            ARGUMENT

       After a scheduling order deadline has expired, a motion for leave to amend is governed

by Rule 16(b) of the Federal Rules of Civil Procedure. According to the rule, “[a] party must

show good cause to obtain leave to amend the operative pleadings.” Texokan Operating, Inc. v.

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Hess Corp., 89 F. Supp. 3d 903, 907 (S.D. Tex. 2015) (citing Meaux Surface Prot., Inc. v.

Fogleman, 607 F.3d 161, 167 (5th Cir. 2010)). Until the Court grants leave, the prior complaint

is the operative complaint governing the action. See U.S. ex rel. Mathews v. HealthSouth Corp.,

332 F.3d 293, 296 (5th Cir. 2003) (“The failure to obtain leave results in an amended complaint

having no legal effect.”).

       Here, the Estate’s Motion is premature because it has not received leave to file an

amended complaint. Since the Court has not granted leave, the Estate’s prior complaint is

operative. There are currently no claims seeking to apply Massachusetts law and no current

conflict of law. The Estate’s request, therefore, is premature. Further, to the extent the Estate’s

Motion depends on granting it leave to file an amended complaint, leave to amend should also be

denied. In the request for leave to file an amended complaint, the Estate provided no explanation

for delaying in bringing any Massachusetts claim, did not identify any newly discovered

evidence, and failed to acknowledge how amendment at this stage in the litigation would

significantly prejudice John Hancock and potentially delay resolution of this action. To support

its assertion that the Estate should be denied leave to amend, John Hancock incorporates the

arguments and authorities cited in its Response To Defendant The Estate Of Jennifer Lauren

Wheatley’s Motion For Leave Of Court To Amend Its Answer, Crossclaim and Counterclaims

[ECF 112]. The Estate’s Motion is premature because the Court has not granted it leave to file an

amended complaint. The Court should not grant the Estate leave to file because of the significant

prejudice and potential delay John Hancock will suffer as a result. The Motion, therefore, should

be denied.




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                                          CONCLUSION

       While John Hancock agrees that Texas law should apply to the Estate’s breach of

contract and negligence claims, it is premature to consider what choice of law should apply to

the Estate’s consumer protection claims. If the Estate receives leave from the Court to amend its

Complaint, John Hancock does not contest the applicability of Massachusetts law. However,

because the Estate has not (and should not) receive leave of Court to file an amended complaint,

deciding the applicability of Massachusetts law to un-asserted claims is premature. The Estate’s

Motion, therefore, should be denied.

                                               RESPECTFULLY SUBMITTED,

                                               BRYAN CAVE LEIGHTON PAISNER LLP


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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on March 13, 2020, the foregoing was served upon

all counsel of record through CM/ECF.



                                                      /s/ Jennifer L. Berhorst
                                                      Attorney for Plaintiff




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